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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:20−cr−00318
                                                       Honorable Robert W. Gettleman
Olalekan Jacob Ponle
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 29, 2021:


        MINUTE entry before the Honorable Robert W. Gettleman as to Olalekan Jacob
Ponle: At defense counsel's request and by agreement, telephonic status hearing set for
8/6/2021 is stricken and reset to 8/23/2021 at 9:45 a.m. The call−in number is (888)
684−8852 and the access code is 1503395. By agreement, the Court deems the period of
time from 7/29/2021 through 8/23/2021 excludable under 18 U.S.C.§3161(h)(7)(A)
interest of justice. Mailed notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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